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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

MICHAEL STEVEN                            )
BAUERMEISTER,                             )
                                          )                   8:17CV437
                    Plaintiff,            )
                                          )
             v.                           )              MEMORANDUM
                                          )               AND ORDER
YOUTUBE, LLC,                             )
                                          )
                    Defendant.            )
                                          )

        On February 2, 2018 (Filing No. 6), and again on March 19, 2018 (Filing No. 11),
this court ordered Plaintiff to file an amended complaint stating a claim upon which
relief can be granted, in the absence of which the court would dismiss this case without
further notice. In response, Plaintiff filed a “Memorandum,” which the court shall
construe as an Amended Complaint (Filing No. 12).

       Plaintiff’s Amended Complaint simply expands his claim that YouTube’s website
infringement-notification system gives substandard access to non-commercial
copyright holders, as compared with commercial copyright holders. These allegations
have already been discussed and dismissed for failure to state a claim upon which relief
can be granted.1 (Filing No. 6 at CM/ECF pp. 4-5.)

       As to Plaintiff’s potential copyright-infringement claim, and contrary to the
court’s prior order, Plaintiff’s Amended Complaint does not allege specific facts

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        Even had these allegations stated a claim, it is unlikely Plaintiff would have
Article III standing to pursue it because he has not alleged any particularized and actual
injury. In re SuperValu, Inc., 870 F.3d 763, 768 (8th Cir. 2017); Wallace v. ConAgra,
747 F.3d 1025, 1030-33 (8th Cir. 2014). Even in the context of a statutory violation,
Article III requires a “concrete injury” that “actually exist[s]” and is “not abstract.”
Braitberg v. Charter Commc’ns, Inc., 836 F.3d 925, 930 (8th Cir. 2016) (internal
quotation marks and citation omitted).
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showing that (1) Plaintiff owns a valid copyright on material that has been posted on,
and transmitted by, YouTube; (2) YouTube had knowledge of material that infringed
upon Plaintiff’s valid copyright; and (3) upon obtaining such knowledge, YouTube
failed to expeditiously remove the material. Specifically—and as the court directed in
Filing No. 11—Plaintiff has not alleged:

      true and specific facts describing the material at issue; establishing that
      Plaintiff owns a valid copyright on such material; explaining that such
      material was posted on and transmitted by YouTube and the dates of
      those occurrences; stating that YouTube knew about the material and
      how and when it came to know about it; and indicating that when
      YouTube learned about the infringing material, it failed to quickly
      remove it.

Therefore, Plaintiff’s Amended Complaint fails to state a claim upon which relief can be
granted, and this case must be dismissed.

      IT IS ORDERED:

       1.    Plaintiff’s Complaint (Filing No. 1) and Amended Complaint (Filing No.
12) are dismissed without prejudice for failure to state a claim upon which relief can be
granted.

      2.     A separate judgment will be entered in accordance with this Memorandum
and Order.

      DATED this 2nd day of May, 2018.

                                         BY THE COURT:

                                         s/ Richard G. Kopf
                                         Senior United States District Judge



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